                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 COLONIAL PIPELINE COMPANY,

         Plaintiff,                               Case No. 3:20-cv-00666

 v.                                               Judge William L. Campbell, Jr.
                                                  Magistrate Judge Alistair E. Newbern
 METROPOLITAN NASHVILLE AIRPORT
 AUTHORITY, et al.,

         Defendants.


                                            ORDER

         A videoconference with the Magistrate Judge is set on September 10, 2021 at 12:00 p.m.

Counsel shall file a joint statement of the discovery dispute by no later than September 8, 2021.

The statement shall clearly identify each issue to be discussed and include the subject request and

response. Each party’s position statement shall be no longer than three pages per issue raised.

         It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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